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                                       CAUSE NO. 24-07-11639

DUSTIN ETTER,                                        §         IN THE DISTRICT COURT OF
Plaintiff,                                           §
                                                     §
v.                                                   §         MONTGOMERY COUNTY, TEXAS
                                                     §
JEROD P. FURR, et al,                                §
Defendants.                                          §         457TH JUDICIAL DISTRICT

      SECOND SET OF WRITTEN DISCOVERY TO PLAINTIFF DUSTIN ETTER

TO:     Plaintiff, Dustin Etter, by and through his attorney of record, Noah Meek of Irelan
        McDaniel, PLLC located at 2520 Caroline Street, 2nd floor, Houston, Texas 77004.

        Pursuant to Rules 196, 197, and 198 of the Texas Rules of Civil Procedure, Defendant

Justin P. Furr serves this, his Second Set of Written Discovery to Plaintiff Dustin Etter and ask that

he fully answers the discovery requests herein as well as produce the documents and tangible

things identified herein on or before the expiration of thirty (30) days from the date of service

hereof to E-Merger.Law PLLC, located at 1334 Brittmoore Road, Suite 2314, Houston, Texas

77043, with a copy also served upon lead counsel, Randy Bays.

                                                            Respectfully submitted,

                                                            EMERGER.LAW PLLC


                                                            /s/ Deborah L. Crain
                                                            Deborah L. Crain
                                                            State Bar No. 24067319
                                                            1334 Brittmoore Road #2314
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                                                            Co-Counsel for Defendants AE Partners
                                                            Holdings, Inc., AE Partners Holdings, LLC,
                                                            AEP Asset Holdings, LLC, Alliance Energy
                                                            Partners, LLC, Alliance Farm & Ranch,
                                                            LLC, Invictis Drilling Motors, LLC, Corina
                                                            Furr and Jerod P. Furr



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                                                            THE BAYS FIRM


                                                            /s/ Alyssa M. Cueller*
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                                                            Co-Counsel for Defendants AE Partners
                                                            Holdings, Inc., AE Partners Holdings, LLC,
                                                            AEP Asset Holdings, LLC, Alliance Energy
                                                            Partners, LLC, Alliance Farm & Ranch,
                                                            LLC, Invictis Drilling Motors, LLC, Corina
                                                            Furr and Jerod P. Furr

                                                            *signed by permission



                                   CERTIFICATE OF SERVICE

The undersigned hereby certifies the foregoing was served on May 16, 2025 in accordance with
the Texas Rules of Civil Procedure upon the following:

Noah Meek
Irelan McDaniel, PLLC
2520 Caroline St Fl 2
Houston, TX 77004-1000

                                                            /s/ Deborah L. Crain
                                                            Deborah L. Crain




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